     Case 1:88-cr-01007-MW-GRJ           Document 1262         Filed 09/09/08     Page 1 of 2


                                                                                           Page 1 of 2


                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                              CASE NO. 1:88-cr-01007-MP-AK

TERRY L. REED,

      Defendant.
___________________________/

                                           ORDER

       This matter is before the Court on Doc. 1256, Motion for Reconsideration, filed by

Defendant Terry L. Reed. Defendant seeks reconsideration of this Court’s August 14, 2008,

order (Doc. 1250) denying his motion to reduce sentence (Doc. 1230) under 18 U.S.C. § 3582.

Defendant’s motion was based on Amendments 706 and 711 to the United States Sentencing

Guidelines (“Guidelines”). Under the amended Guidelines, Defendant’s Total Offense Level

actually increased. Because Defendant’s current sentence is below the range in the amended

Guidelines, this Court held that Defendant is not entitled to a reduction under § 3582.

       Defendant raises four arguments in favor of his motion to reconsider that holding.

Defendant’s first three arguments invite the Court to reconsider the facts and merits of his case,

an exercise that is not permitted in considering whether to reduce a sentence under § 3582.

Defendant’s fourth argument is that this Court failed to consider the arguments in Defendant’s

reply at Doc. 1241. Defendant draws this conclusion based on the absence of any reference to

Defendant’s reply in the Court’s order. Although the Court did not specifically reference

Defendant’s reply in its order, the arguments raised therein were considered and are without
    Case 1:88-cr-01007-MW-GRJ            Document 1262         Filed 09/09/08   Page 2 of 2


                                                                                      Page 2 of 2


merit. Finding no reason to reconsider its previous order, it is hereby

        ORDERED AND ADJUDGED:

        Defendant’s motion for reconsideration (Doc. 1256) is DENIED.

        DONE AND ORDERED this            9th day of September, 2008


                                       s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge




Case No: 1:88-cr-01007-MP-AK
